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P|aintiff,

VS.
CFl. NO. 05-20077-B

FllTA WlLL|AI\/lSON, GREG LONG,
CAROLYN K|RK-W|GGLY, VEFlONDA JACKSON,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PEFl|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on Nlay 31, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Nlondav. Ju|y 25. 2005. at 9:30 a.m., in Courtroom 1, itth F|oor of the

Federal Bui|ding, Nlemphis, TN.
The period from June 17, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 3161( )(8) B)()(iv) because the ends ofiustice served in allowing for additional time
to prepare outweigh the need for a s eedy tria|.
iT is so onoEnEo this Q\da

da:: junel 2005.

N|EL BREEN
NDIT D STATES DlSTFll T JUDGE

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UNITED sATE DISTRICT COURT - W'"TRN DISTRCT OFTENNESSEE

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Honorable .1. Breen
US DISTRICT COURT

